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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

JUDICIAL WATCH, INC.,                 )
425 Third Street S.W., Suite 800      )
Washington, DC 20024,                 )
                                      )
                     Plaintiff,       )
                                      )               Civil Action No.
v.                                    )
                                      )
U.S. DEPARTMENT OF                    )
HOMELAND SECURITY,                    )
2707 Martin Luther King Jr. Avenue SE )
Mailstop 0485                         )
Washington, DC 20528-0485             )
                                      )
                     Defendant.       )
____________________________________)

                                          COMPLAINT

       Plaintiff Judicial Watch, Inc. brings this action against Defendant U.S. Department of

Homeland Security to compel compliance with the Freedom of Information Act, 5 U.S.C. §

552. As grounds therefor, Plaintiff alleges as follows:

                                JURISDICTION AND VENUE

       1.      The Court has jurisdiction over this action pursuant to 5 U.S.C. § 552(a)(4)(B)

and 28 U.S.C. § 1331.

       2.      Venue is proper in this district pursuant to 28 U.S.C. § 1391(e).

                                            PARTIES

       3.       Plaintiff Judicial Watch, Inc. is a not-for-profit, educational organization

incorporated under the laws of the District of Columbia and headquartered at 425 Third Street

S.W., Suite 800, Washington, DC 20024. Plaintiff seeks to promote transparency,

accountability, and integrity in government and fidelity to the rule of law. As part of its mission,
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Plaintiff regularly requests records from federal agencies pursuant to FOIA. Plaintiff analyzes

the responses and disseminates its findings and the requested records to the American public to

inform them about “what their government is up to.”

       4.      Defendant U.S. Department of Homeland Security is an agency of the United

States Government and is headquartered at 2707 Martin Luther King Jr. Avenue SE, Mailstop

0485, Washington, DC 20528-0485. Defendant has possession, custody, and control of records

to which Plaintiff seeks access.

                                   STATEMENT OF FACTS

       5.      On July 15, 2024, Plaintiff submitted a FOIA request to U.S. Customs and

Immigration Enforcement (“ICE”), a component of Defendant, seeking access to the following:

       All records, including emails, email chains, email attachments, text messages,
       video or audio recordings, photographs, outlook calendars, meeting minutes,
       correspondence, statements, letters, memoranda, reports, briefings, presentations,
       notes, summaries, requests for assistance, agreements, travel records, receipts, or
       other form of record, regarding providing support or manpower to President
       Donald Trump’s presidential campaign rally that was held in Butler, PA, on July
       13, 2024.

The request specifically sought records from ICE’s Homeland Security Investigations. The time

frame of the request was identified as “June 1, 2021, to the present.”

       6.      By letter dated July 17, 2024, Defendant acknowledged receiving Plaintiff’s

request on July 15, 2024 and advised Plaintiff that the request had been assigned ICE FOIA Case

Number 2024-ICFO-46579. The letter also invoked FOIA’s 10-day extension of time provision

for “unusual circumstances.”

       7.      As of the date of this Complaint, Defendant has failed to: (i) determine whether to

comply with the request; (ii) notify Plaintiff of any such determination or the reasons therefor;

(iii) advise Plaintiff of the right to appeal any adverse determination; or (iv) produce the



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requested records or otherwise demonstrate that the requested records are exempt from

production.

                                             COUNT I
                                (Violation of FOIA, 5 U.S.C. § 552)

          8.     Plaintiff realleges paragraphs 1 through 7 as if fully stated herein.

          9.     Defendant is in violation of FOIA.

          10.    Plaintiff is being irreparably harmed by Defendant’s violation of FOIA, and

Plaintiff will continue to be irreparably harmed unless Defendant is compelled to comply with

the law.

          11.    To trigger FOIA’s administrative exhaustion requirement, Defendant was

required to make a final determination on Plaintiff’s request by August 26, 2024, at the latest.

Because Defendant failed to make a final determination within the time limits set by FOIA,

Plaintiff is deemed to have exhausted its administrative appeal remedies.

          WHEREFORE, Plaintiff respectfully requests that the Court: (1) order Defendant to

conduct searches for any and all records responsive to Plaintiff’s FOIA request and demonstrate

that it employed search methods reasonably likely to lead to the discovery of records responsive

to Plaintiff’s FOIA request; (2) order Defendant to produce, by a date certain, any and all non-

exempt records responsive to Plaintiff’s FOIA request and Vaughn indices of any responsive

records withheld under claim of exemption; (3) enjoin Defendant from continuing to withhold

any and all non-exempt records responsive to Plaintiff’s FOIA request; (4) grant Plaintiff an

award of attorneys’ fees and other litigation costs reasonably incurred in this action pursuant to 5

U.S.C. § 552(a)(4)(E); and (5) grant Plaintiff such other relief as the Court deems just and

proper.




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Dated: March 10, 2025                     Respectfully submitted,

                                          /s/ Ramona R. Cotca
                                          Ramona R. Cotca
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